     Case 1:16-cr-00174-DAD-BAM Document 31 Filed 05/26/17 Page 1 of 4


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 8                              UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,               No. 1:16-cr-00169-DAD-BAM
12                 Plaintiff,
13        v.                                 ORDER RE DISCOVERY MANAGEMENT
                                             IN ALL RELATED CASES
14   OMAR GONZALEZ VEGA,
15                 Defendants.
16                                           No. 1:16-cr-00170-DAD-BAM
     UNITED STATES OF AMERICA,
17
                   Plaintiff,
18
          v.
19
     CHARLIE STEVENSON and DARIAN
20   HATCHER,
21                 Defendants.
22
                                             No. 1:16-cr-00172-DAD-BAM
23   UNITED STATES OF AMERICA,

24                 Plaintiff,

25        v.

26   JAMAR JOHNSON,

27                 Defendants.

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     Case 1:16-cr-00174-DAD-BAM Document 31 Filed 05/26/17 Page 2 of 4


 1                                        No. 1:16-cr-00173-DAD-BAM
     UNITED STATES OF AMERICA,
 2
                    Plaintiff,
 3
           v.
 4
     KHALIF CAMPBELL et al,
 5
                    Defendants.
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 7                                        No. 1:16-cr-00174-DAD-BAM
     UNITED STATES OF AMERICA,
 8
                    Plaintiff,
 9
           v.
10
     ANTHONY THOMAS and DEVONE
11   JOHNSON,

12                  Defendants.

13                                        No. 1:16-cr-00175-DAD-BAM
     UNITED STATES OF AMERICA,
14
                    Plaintiff,
15
           v.
16
     DIONNE SINGLETON,
17
                    Defendants.
18
                                          No. 1:16-cr-00176-DAD-BAM
19
     UNITED STATES OF AMERICA,
20
                    Plaintiff,
21
           v.
22
     DEJOHN WILEY et al.,
23
                    Defendants.
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     Case 1:16-cr-00174-DAD-BAM Document 31 Filed 05/26/17 Page 3 of 4


 1                                                     No. 1:16-cr-00187-DAD-BAM
     UNITED STATES OF AMERICA,
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                         Plaintiff,
 3
              v.
 4
     ROBERT GONZALEZ et al.,
 5
                         Defendants.
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 7                                                     No. 1:16-cr-00188-DAD-BAM
     UNITED STATES OF AMERICA,
 8
                         Plaintiff,
 9
              v.
10
     ANTHONY RAMIREZ,
11
                         Defendants.
12
                                                       No. 1:16-cr-00189-DAD-BAM
13   UNITED STATES OF AMERICA,
14                       Plaintiff,
15            v.
16   JESUS VELAZQUEZ-JUAREZ,
17                       Defendants.
18                                                     No. 1:16-cr-00190-DAD-BAM
19   UNITED STATES OF AMERICA,

20                       Plaintiff,

21            v.

22   RASHAD HALFORD and STEPHEN
     HILL,
23
                         Defendants.
24

25            On January 4, 2017 and March 6, 2017, the court has held budgeting hearings with all
26   defense counsel appointed under the Criminal Justice Act in these related cases.1 In the course of
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         All retained counsel have also been invited to attend these budgeting conferences.
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     Case 1:16-cr-00174-DAD-BAM Document 31 Filed 05/26/17 Page 4 of 4


 1   those conferences it has been determined that utilization of litigation support services provided by
 2   Behind the Gavel of Spokane, Washington would be the most efficient and economical way to
 3   disseminate discovery produced by the government to defense counsel in a searchable format in
 4   these related cases.
 5          The court issues this order to clarify any questions that counsel may have with respect to
 6   this arrangement. Accordingly:
 7          1. All the discovery provided to Behind the Gavel to date is intended for the use of all
 8               counsel in these related cases. In the event certain discovery materials are to be made
 9               available only with respect to select defendants and their attorneys, counsel for the
10               government will produce that discovery directly to the counsel in question;
11          2. Behind the Gavel’s litigation support services are available to all CJA-represented
12               defendants in all of the related cases and Behind the Gavel will provide the organized
13               discovery to all appointed defense counsel;
14          3.   Retained counsel may purchase Behind the Gavel's work product at a pro-rata share
15               of the total cost for all defendants, as determined by Behind the Gavel, and Behind the
16               Gavel will then deduct from its final bill to the Court any fees paid by retained counsel
17               for that work product; and
18          4. The court directs Behind the Gavel to work with the U.S. Attorney’s Office for the
19               Eastern District of California to ensure distribution of the relevant discovery to
20               defense counsel in each of these related cases.
21   IT IS SO ORDERED.
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        Dated:     May 26, 2017
23                                                         UNITED STATES DISTRICT JUDGE

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